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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

CHARLES F. WARNER, et al.,

                          Plaintiffs,
v.                                             Case No: CIV-14-665-F

KEVIN J. GROSS, et al.,

                          Defendants.

                JOINT MOTION FOR PROTECTIVE ORDER

      The parties move, pursuant to the Federal Rules of Civil Procedure 26(c), for

entry of a protective order governing the disclosure of confidential information in

this case. In support of this motion, the parties would show the Court the following:

      1.     Plaintiff’s first discovery requests were served on September 25, 2014.

      2.     Defendants moved for a protective order on October 14, 2014. During

a status conference held on October 15, 2014, this Court advised the parties to

prepare a protective order that addressed non-contested discovery concerns.

      3.     Plaintiffs and Defendants have conferred and have agreed to the

language contained in a proposed Protective Order which has been submitted to

Court through the e-mail address used to submit proposed orders.

      For good cause shown, the parties respectfully request the Court enter the

attached agreed protective order so that discovery in this case can proceed promptly.
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                          Respectfully submitted,



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